                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             CENTRAL DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                               No. CR13-3001-MWB
 vs.                                             ORDER REGARDING MOTION
                                                 FOR SENTENCE REDUCTION
 NANCY MAY LARSON,
                                                       PURSUANT TO
               Defendant.                           18 U.S.C. § 3582(c)(2)

                            ____________________________


       This matter comes before the court on its own motion under 18 U.S.C. §
3582(c)(2).   At the court’s request, the United States Probation Office prepared a
memorandum that, among other things, addresses the defendant’s eligibility for a sentence
reduction under 18 U.S.C. § 3582(c)(2) and calculates the defendant’s amended guideline
range. The government requests a hearing in this matter. The court declines to hold a
hearing at this time. The government is directed to submit by no later than March 6, 2015
a sealed report that details its position regarding a reduction in sentence pursuant to 18
U.S.C. § 3582(c)(2). After considering the government’s position, the court will either
exercise its discretion and reduce the defendant’s sentence under 18 U.S.C. § 3582(c)(2)
or appoint counsel and conduct a hearing during which the defendant will participate by
telephone. At this point in the proceeding, the defendant need not submit to the court
anything that responds to the government’s sealed report. The clerk’s office is directed
to send a copy of this order to the defendant, the office of the Federal Public Defender,
the office of the United States Attorney and the office of United States Probation.




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  IT IS SO ORDERED.
  DATED this 13th day of February, 2015.




                                       __________________________________
                                       MARK W. BENNETT
                                       U. S. DISTRICT COURT JUDGE
                                       NORTHERN DISTRICT OF IOWA




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